     Case 3:14-cr-05246-BHS             Document 71          Filed 12/23/14     Page 1 of 2



 1

 2

 3

                                IN THE UNITED STATES DISTRICT COURT
 4
                              FOR THE WESTERN DISTRICT OF WASHINGTON
 5                                          AT TACOMA

 6   UNITED STATES OF AMERICA,                           )
                                                         )
 7                   Plaintiff,                          )     No.   CR14-5246BHS
                                                         )
 8      vs.                                              )
                                                         )     ORDER ON DEFENDANT’S
 9   ROGELIO RAMIREZ-HERRERA,                            )     MOTION TO CONTINUE
                                                         )     PRE-TRIAL MOTIONS CUTOFF
10                   Defendant.                          )
                                                         )
11
                       Before this court is a motion to continue the pre-trial motions cutoff
12
     presently set for December 30, 2014.
13
                       Plea negotiations in this case are ongoing and additional time is needed to
14
     attempt to reach a resolution. Additionally, a continuance is also requested as counsel for
15
     the defendant will be on vacation from December 26, 2014 until January 4, 2015, and,
16
     therefore, will be unavailable to prepare motions on behalf of Mr. Ramirez-Herrera.
17
                       Mr. Ramirez-Herrera is aware of this motion, and has no objection.
18                     AUSA Gregory Gruber is aware of this motion and has no objection to
19   this request.

20                     Zenon P. Olbertz, counsel for Mr. Meza-Orozco, is aware of this motion

21   and has no objection to this request.

22                     That the court finds, after a consideration of all relevant information

     (including the affidavit filed by Brett A. Purtzer in support of the motion for a
23
     continuance) and the circumstances of this case, that without this continuance the
24
     defendant will be prejudiced and the ability to properly prepare for trial would be
25


     ORDER CONTINUING PRE-TRIAL MOTIONS                       HESTER LAW GROUP, INC., P.S.
     CUTOFF - 1                                               1008 SOUTH YAKIMA AVENUE, SUITE 302
                                                                   TACOMA, WASHINGTON 98405
                                                                          (253) 272-2157
     Case 3:14-cr-05246-BHS           Document 71       Filed 12/23/14      Page 2 of 2



 1   impaired. Failure to grant a continuance under these circumstances would result in a
 2   miscarriage of justice. The ends of justice would best be served by the granting of the

 3   motion for continuance to ensure continuity of counsel and adequate trial preparation.

 4   The ends of justice outweigh the best interests of the public and the defendant in having

 5   the matter brought to trial sooner.

                     For these reasons, the court finds the defendant’s motion for continuance
 6
     should be granted.
 7
                     The pre-trial motions cutoff date presently scheduled for December 30,
 8
     2014 shall be stricken.
 9
                     The pre-trial motions cutoff date shall be scheduled for January 15, 2015.
10
                     IT IS SO ORDERED.
11
                     DONE this 23rd day of December, 2014.
12




                                                   A
13

14

15                                                 BENJAMIN H. SETTLE
                                                   United States District Judge
16

17   Presented by:

18   HESTER LAW GROUP, INC., P.S.
     Attorneys for defendant
19

20
     By: /s/ Brett A. Purtzer
         Brett A. Purtzer
21
         WSB #17283
22

23

24

25


     ORDER CONTINUING PRE-TRIAL MOTIONS                   HESTER LAW GROUP, INC., P.S.
     CUTOFF - 2                                           1008 SOUTH YAKIMA AVENUE, SUITE 302
                                                               TACOMA, WASHINGTON 98405
                                                                      (253) 272-2157
